                Case:24-16853-TBM Doc#:2 Filed:11/15/24                                   Entered:11/15/24 18:03:31 Page1 of 1


 Fill in this information to identify the case:
 Debtor name Integrity Real Estate, LLC
 United States Bankruptcy Court for the: DISTRICT OF COLORADO                                                                                Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Cox Law Firm                                        Legal retainer                                                                                                  $850.00
 718 Wilcox St
 Castle Rock, CO
 80104
 G&I IX MJW Cherry                                   Lease for office                                                                                            $13,744.00
 Creek LLC                                           space at 4500 E
 PO Box 913166                                       Cherry Creek S
 Denver, CO 80291                                    Drive, Suite 260,
                                                     Glendale, CO
                                                     80246
 Keller Williams                                     Franchise fees                                                                                              $27,000.00
 Realty International                                and Royalty fees
 1221 S Mopac
 Expressway, Suite
 400
 Austin, TX 78746
 Kimberly Austin                                     Lawsuit                   Contingent                                                                                $0.00
 c/o Adam Massaro                                                              Unliquidated
 1900 Sixteenth                                                                Disputed
 Street, Suite 950
 Denver, CO 80202
 Pacific Office                                      Monthly Lease for                                                                                             $1,692.84
 Automation                                          Printer
 PO Box 825736
 Philadelphia, PA
 19182
 Propel Technology                                   Monthly Lease for                                                                                               $379.86
 8870 Misty Lake Ct                                  IT Support and
 Colorado Springs,                                   Routers
 CO 80908
 Quench                                              Monthly Lease for                                                                                               $303.61
 630 Allendale Rd,                                   Water Cooler
 Suite 200
 King of Prussia, PA
 19406




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